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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CHARMAINE PRATER,                             :
    Plaintiff,                                :
                                              :
        v.                                    :      CIVIL ACTION NO. 19-CV-6218
                                              :
CITY OF PHILADELPHIA, et al.,                 :
     Defendants.                              :

                                             ORDER

        AND NOW, this 14th day of January, 2020, upon consideration of Plaintiff Charmaine

Prater’s Motion to Proceed In Forma Pauperis (ECF No. 1), Complaint (ECF No. 2), and

Motion for Protection (ECF No. 3) it is ORDERED that:

        1.      Leave to proceed in forma pauperis is GRANTED pursuant to 28 U.S.C. §

1915.

        2.      The Complaint is DEEMED filed.

        3.      The Complaint is DISMISSED WITHOUT PREJUDICE for the reasons in the

Court’s Memorandum.

        4.      Prater may file an amended complaint within thirty (30) days of the date of this

Order. Any amended complaint must identify all defendants in the caption of the amended

complaint in addition to identifying them in the body of the amended complaint and shall state

the basis for Prater’s claims against each defendant. The amended complaint shall be a

complete document that does not rely on the initial Complaint or other papers filed in this case

to state a claim. Any amended complaint should not rely primarily on exhibits to state a claim.

When drafting her amended complaint, Prater should be mindful of the Court’s reasons for

dismissing the claims in her initial Complaint as explained in the Court’s Memorandum. Upon
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the filing of an amended complaint, the Clerk shall not make service until so ORDERED by the

Court.

         5.      The Clerk of Court is DIRECTED to send Prater a blank copy of this

Court’s current standard form to be used by a self-represented litigant filing a civil action

bearing the above-captioned civil action number. Prater may use this form to file her amended

complaint if she chooses to do so.

         6.      If Prater fails to file an amended complaint in accordance with this Order, her

case may be dismissed without further notice for failure to prosecute.

         7.      The Motion for Protection is DENIED for the reasons stated in the Court’s

Memorandum.

                                               BY THE COURT:


                                               /s/ Juan R. Sánchez
                                               JUAN R. SÁNCHEZ, C.J.
